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     Scheef & Stone, L.L.P.
     500 N. Akard, Suite 2700                      SCHEEF & STONE
     Dallas, Texas 75201                                 SOLID COUNSEL




                                                             INVOICE


    Kelly Crawford Receivership - Metals.co                                                          Statement Date:      02/25/2021
                                                                                                         Account No.      16125.101
                                                                                                         Invoice No.        1017546




      Matter 101 - Receiver




                                                                                                                   Hours
12/22/2020     KMC   Communicate with Bayside Metals regarding release of metals for
                     investor(.25); communicate with CFTC regarding proposal for handling
                     pending transactions at Bayside Metals (.25); attend to investor calls (.25);
                     review bids for purchase of inventory at office (.25).                                            1.00

12/28/2020     KMC   Telephone conference with investor Mark Johnson (.50); telephone
                     conference with investor Tom Gallon (.50); communicate by email with
                     numerous investors (.50); telephone conference with California regulator (.25);
                     send California regulator various documents regarding USA Accounts, Inc.
                     and the California action to be filed against USA Accounts, Inc. (.50); receive
                     check from PayPal and send to receivership bank for deposit (N/C); receive
                     additional bank records from Wells Fargo and review production to determine
                     if complete (.50); receive production from Bank of America and review
                     production to determine if complete (.75); review offers for purchase of
                     inventory at 8383 Wilshire (.25); conference with J. Stafford regarding cost to
                     wipe computers being sold (.25); provide W-9 for receivership to
                     CrowdFunding relating to investment transferred to receivership (.25);
                     communicate with Bayside Metals seeking additional information regarding
                     proposal for providing options to investors (.50).                                                4.75

12/29/2020     KMC   Prepare inventory of 8383 Wilshire office to sell (.75); prepare draft of Notice
                     of Intent to Sell Office Inventory (.50); communicate with bidders for office
                     inventory about offers (.50); communicate with investors regarding
                     questionnaire (.75); review Wells Fargo documents produced and compare to
                     monies frozen and send bank records to Brandlin & Associates for forensic
                     accounting (.50).                                                                                 3.00

12/30/2020     KMC   Telephone conference with investor (.25); work on Receiver's Second Report
                     (1.0); work on sale of inventory at 8383 Wilshire (.25).                                          1.50

01/04/2021     KMC   Work on Receiver's Second Report (.50); conference with associate attorneys
                     regarding Bayside pending orders and options for investors (.25 · conference
                     with L. Sanderson regarding Tower Equity investors (.25).                                         1.00
                                                                                           EXHIBIT
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                                                                                    .0
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      Kelly Crawford                      Document
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      Matter 101 - Receiver




                                                                                                                 Hours

01/05/2021    KMC    Telephone conference with C. Thomas regarding missing bank records from
                     Bank of America and attorneys fees claim against Bank of America (.25);
                     revise and finalize Second Report of Receiver and file with the Court (1.0);
                     telephone conference with CFTC regarding providing status information as to
                     receivership (.50); communications with bidder of office inventory finalizing
                     terms of sale (.25); revise and finalize Notice of Intended Sale of Property and
                     file with the court; prepare nonmetals questionnaire to send to investors who
                     invested in collateralized notices or other non-metal investments (1.25);
                     telephone conference with attorney for Bayside Metals regarding filling orders
                     from Barrick inventory (.50); communicate with associate attorneys regarding
                     contacting investors to give them a choice between receiving metals or
                     receiving liquidated amount for metals (.50); prepare email to send to such
                     investors regarding their choice to receive metals of monies from liquidation
                     (.50).                                                                                        5.00

01/06/2021    KMC    Go to Chase bank and obtain medallion signature on documents to sell Spotify
                     stock for receivership (.50); prepare letter to Computershare regarding sale of
                     Spotify stock .50 ·conference with M. Simon
                                                                     (.25); receive jewelry from
                     Fainche, photograph same, an provide to P. Lewis to send to attorney for
                     Fainche (.25); attend to investor calls (.50).                                                2.00

01/08/2021    KMC    Attend to investor calls and communications (.25); multiple conferences with
                     legal assistant regarding same and responding to questions asked by
                     investors (.25).                                                                              0.50

01/11/2021    KMC    Work on Motion to Establish Claims Procedure; attend to investors electing
                     between receiving metals or liquidation monies from Bayside and numerous
                     communications with Bayside regarding same; attend to investor calls;
                     communicate with State of Texas SSB regarding investor database; telephone
                     conference with CFTC regarding providing database of investors to compare
                     with State lists to insure database is including all victims; telephone conference
                     with former employee regarding brokers and unlawful techniques
                     used to make sales; prepare deposition notice for Lucas Asher; telephone
                     conference with K. Loquett.                                                                   5.00

01/12/2021    KMC    Attend to processing election by investors with respect to pending orders at
                     Bayside Metals as to whether to receive metals or receive liquidation;
                     numerous communications with Bayside Metals regarding same; numerous
                     communications with investors regarding same; and numerous
                     communications with attorneys handling investor communications; work on
                     Motion for Order Establishing Claims Adjudication Process; prepare draft of
                     Proposed Order; send to CFTC for review.                                                      4.00

01/13/2021    KMC    Conference with P. Lewis regarding targets and strategy; telephone
                     conference with former dialer; telephone conferences and communications
                     with investors regarding questionnaire; prepare Judicial Bill of Sale for sale of
                     Office Property and provide to purchaser; communicate with purchaser
                     regarding sale of Office Property; confirm receipt of proceeds from sale of
                     Office Property; communicate with broker regarding status of sale of two
                     automobiles.                                                                                  3.00
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       Kelly Crawford Receivership - Metals.com                                                                         02/25/2021
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      Matter 101 - Receiver




                                                                                                               Hours

01/14/2021     KMC   Telephone conference with CFTC regarding claims procedure; revise claims
                     procedure documents; attend to investor calls; review letter to administrator in
                     Alaska regulatory proceeding.                                                               2.50

01/15/2021     KMC   Work on revisions to Claims Motion (.75); numerous communications with
                     investors regarding completing initial questionnaire (.75); send revised Claims
                     Motion to CFTC to review (.25); participate in training for use of veritex
                     technology for Asher deposition (1.0).                                                      2.75

01/18/2021     KMC   Attend to investor calls (1.0); review questionnaires received from investors
                     and prepare list of metals sold by Defendants (1.25); send list of metals sold
                     by Defendants to CFTC for review (.25); obtain copies of title to automobiles
                     and have legal assistant obtain auto insurance on automobiles (.25); confirm
                     auto policies and provide to relevant parties (.25); work on timeline of BOA
                     contempt of SRO for purposes of making demand for payment of attorneys'
                     fees (.50).                                                                                 3.50

01/19/2021     KMC   Attend to investor questionnaires and questions and decisions regarding
                     pending orders with Bayside Metals (.75); comi:nunicate with C. Thomas
                     Legarding claim against BOA to recover attorneys fees for BOA's failure to
                     comply with receivership order (.25); review notes regarding activities of L.
                     Asher and begin preparing for continuation of deposition of L. Asher (1.25).                2.25

01/21/2021     KMC   Prepare for call with States and CFTC to review claims process (.25);
                     participate in call with States and CFTC and review claims process (.50);
                     telephone conference with CFTC regarding same and strategy with claims
                     (.50); telephone conference with investor (.25).                                            1.50

01/22/2021     KMC   Attend to numerous investor calls, emails, and questionnaires (1.0); review
                     investor database (1.0); telephone conference with purchaser of office
                     inventory regarding status of move-out (.25); conference with J. Rolls
                     regarding investor calls (.25).                                                             2.50

01/24/2021     KMC   Revise Claims Motion and exhibits and send to CFTC to review.                               0.25

01/25/2021     KMC   Prepare for deposition of Lucas Asher; telephone conference with salesperson
                     regarding L. Asher (1.50); attend to investor calls and questionnaires (.50);
                     work on making demand upon recipients of investments by Tower Equity and
                     conference with D. Brezeck regarding same (1.0); send Claims Motion to
                     Arnold for review for purposes of conferring (.25); prepare letter to bank
                     making deposits (.25); communicate with J. Brandlin and with purchaser of
                     Office Inventory about status of vacating lease premises (.50).                            4.00

01/26/2021     KMC   Telephone conferences with CFTC regarding deposition of L. Asher (.75);
                     telephone conference with K. Loguett (.25); telephone conference with former
                     employee regarding defendants (.75); conference with P. Lewis regarding
                     strategy with respect to expanding receivershi .25); telephone conference
                     with                     (.50); researc
                                                          (2.0); telephone conference w1
                        omas regarding claim against BOA for recovery of attorneys fees (.25);
                     research general counsel for SpaceX and conference with P. Lewis regarding
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       Matter 101 - Receiver




                                                                                                               Hours
                      making demand upon SpaceX to comply with receivership order (.50);
                      conference with D. Brezik regarding following up with Signature Bank and First
                      American Bank to obtain bank records as required under receivership order
                      (.25); conference with P. Lewis regarding vacating Wilshire space and
                      negotiating a return of security deposit (.50); review art appraisal and
                      communicate with W. Young regarding retaining appraisers to auction painting
                      and send to W. Young the court order regarding auctions (.25); communicate
                      with Wyatt Laser regarding status of selling two cars (.25).                               6.00

01/27/2021     KMC    Gather information regarding activities of Asher (.75); conference with P.
                      Lewis regarding . . .(.50); conference wit~(.25); prepare
                      for deposition of Asher (1.0); attend to investors and uestionnaires (.25);
                      telephone conference with                                           (.50);
                      telephone conference with C TC regarding same (.25); conference with P.
                      Lewis regarding- communicate with W. Laser regarding sale of
                      automobiles (.25).                                                                         4.25

01/28/2021     KMC    Prepare for taking Asher's deposition (2.0); prepare exhibits for deposition
                      (1.0); receive notice of intent of A. Spencer to not appear at deposition and
                      withdraw from representing defendants (.25); conference with associate about
                      standards in Northern District of Texas for withdrawing from representation
                      (.25); prepare email to A. Spencer objecting to his attempted withdrawal (.25);
                      telephone conference with CFTC regarding same (.50); telephone conference
                      with C. Davis and CFTC regarding possible representation by C. Davis (1.0);
                      telephone conference with C. Davis regarding source of retainer for
                      representation at deposition (.25); conference with P. Lewis regarding same
                      and regarding questions for Asher's deposition (.50).                                      6.00

01/29/2021     KMC    Prepare for and take Lucas Asher's deposition.                                             6.00

02/01/2021     KMC    Telephone conference with State of Texas regarding sharing database of
                      investors and issuing press release to insure investors know to file a claim in
                      the receivership (.50); conference with paralegal regarding database (.50);
                      attend to investor communications (1.0); finalize Motion to Establish Claims
                      Procedure and proposed Order and file with the Court (1.0); confer with A.
                      Spencer regarding same (.25); review letters to targets regarding failure to
                      comply with initial demands for information and violation of receivership order
                      (.25); conference with P. Lewis regarding informing attorney for lessor of
                      termination of Wilshire lease and return of security deposit and review orders
                      for relevant language to cite for return of security deposit; (.50) conference
                      with P. Lewis regarding Pennsylvania broker refusing to turn over
                      communications with Defendants (.25); communicate with J. Brandlin
                      regarding termination of leasehold interest (.25); fiinalize Second Fee
                      Application and prepare proposed Order (no charge).                                       4.25

02/02/2021     KMC    Work on determining value of automobiles for consideration of pending offers
                      (.25); work on determining attorneys fees incurred by receivership as a result
                      of BOA's contempt of court (.25); conference with P. Lewis regarding
                      termLnation of Wilshire lease (.25); conference with legal assistant about
                     ,)nvestor database (.25).           •i:                                                     1.00

02/04/2021     KMC    Review emails from broker in Philadelphia regarding Philadelphia properties
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      Matter 101 - Receiver




                                                                                                                 Hours
                     (.50); research ownership of Philadelphia properties and multiple conference
                     with D. Brezik regarding same (1.00); conference with P. Lewis regarding
                     retaining broker to market Philadelphia properties (.25); telephone conference
                     with investor Larry Ball and send email to Entrust regarding lack of
                     responsiveness to investors (.50); review tax filings that need to be made for
                     receivership and communicate with J. Brandlin regarding same and whether
                     receivership should be a qualified settlement fund (.75); attend to investor calls
                     and emails to insure they receive response call from attorney and/or receive
                     questionnaire (.50),                                                                          3.50
               KMC   Conference with paralegals to discuss database and inputting of information
                     from questionnaire (1.00); review complicated questionnaire and provide
                     information to paralegal to input into database (;25); attend to inv'~stor calls
                     and emails to insure they receive response from attorneys and/or \>
                     questionnaires (.50); prepare;letter with copies of court orders to Entrust
                     regarding fair market valuation of lnstribution (.25); prepare letter to former
                     counsel for Defendants providing copies of court orders and demanding
                     turnover of documents (.25); communicate with J. Stafford regarding pending
                     arbitration by Defendants (.25); finalize and file with the Court the Receiver's
                     Second Fee Application and proposed Order (no charge); communicate with
                     C. Thomas regarding claim against BOA for reimbursement of receivership for
                     attorney's fees and expenses incurred as a result of BOA's contempt of court
                     and include a chronology of relevant events, summary of fees, and detail of
                     fees (.75); telephone conference with investor Yingling and provide him with
                     questionnaire (.25); communicate with W. Laser regarding sale of automobiles
                     (.25); communicate with J. Brandlin and with purchaser of Office Inventory
                     regarding surrender of 8383 Wilshire premises to lessor (.25).                                4.00

02/05/2021     KMC   Telephone conference with former counsel for defendants regarding letter
                     requesting turnover of documents pursuant to court orders (.25); conference
                     with paralegal regarding contact information for investors with pending orders
                     at Bayside Metals and provide paralegal with contact information for those who
                     have contacted the Receiver (0.50); conference with P. Lewis regarding
                     meeting with broker in Philadelphia to discuss sale of properties and prepare
                     agenda for meeting (0.50); communicate with CFTC regarding Asher
                     deposition (.1 O); conference with D. Brezick regarding sending follow up letter
                     to American Express for production of documents (.1 O); conference with D.
                     Brezick regarding sending letters to Equidate, now Forge, and EquityZen
                     requesting turnover of documents regarding investments pursuant to
                     receivership orders (.25); conference with J. Stafford regarding google access
                     to Defendants' information being disabled (.10).                                              2.00

02/08/2021     KMC   Conference with broker in Philadelphia regarding listing Philadelphia
                     properties for sale (1.00); telephone conference with CFTC regarding Asher
                     testimony at deposition (.50); prepare letter to Brager Tax Group enclosing
                     receivership orders and making demand for turnover of financial documents
                     and tax returns of receivership defendant (.50); conference with J. Brandlin
                     regarding tax document to be filed regarding receivership (.25); revise
                     numerous letters to third parties following up on request for information
                     regarding Receivership Defendants and investments and conference with D.
                     Brezick regarding same (.75); prepare initial draft of letter to ASCAP to freeze
                     accounts in name of Best New, Inc. for royalties (.50); prepare email to
                     investor regarding pending metal order at Bayside Metals (.25); attend to
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      Matter 101 - Receiver




                                                                                                                Hours
                     investor calls and emails (.50); review Asher deposition transcript for reference
                     to phone service and communicate with P. Lewis regarding sending
                     receivership order to provider to obtain phone records (.25).                                4.00

02/09/2021     KMC   Investigate Reva app and prepare letter to general counsel of Apple, Inc. with
                     receivership orders (.75); prepare Receivership Addendum to include in listing
                     agreement and contracts for sale of Philadelphia properties and send to
                     broker (.75); review properties in Philadelphia to be sold individually and
                     properties to be sold as a package and communicate with broker regarding
                     same (.25); review lis pendens filed regarding properties and identify
                     properties in which recorded lis pendens have not been received and
                     communicate with paralegal regarding same (.50); conference with paralegal
                     regarding status of investor database and questionnaires received from
                     investors and advise CFTC (.50); communicate with Bayside Metals regarding
                     two pending orders (.25); telephone conference with contractor regarding
                     curing violation as to Philadelphia property so that the property can be sold
                     (.50); review bid from appraiser for appraisals of properties and advise CFTC
                     regarding same (.10).                                                                        3.60

02/10/2021     KMC   Communicate with Bayside regarding pending orders (.50); review email from
                     lessor refusing to turn over security deposit and communicate with P. Lewis
                     regarding same (.25); communicate with P. Jesani regarding legal research of
                     receiver's right to security deposit (.25); legal research regarding same (.25);
                     telephone conference with FBI S.A. (.25); conference with J. Stafford
                     regarding                     (.25).                                                         1.75

02/11/2021     KMC   Communicate with W. Laser regarding sale of automobiles (.25); prepare
                     Notice of Intended Sale and send to W. Laser (.75); attend to completing Form
                     56 for IRS (.25); communicate with Bayside Metals regarding pending investor
                     order (.25); review and revise demand letter to BOA (.50); conference with W.
                     Young regarding                                                         (.25);
                     communicate with J. tafford regarding SalesForce and Google (.25).                           2.50

02/12/2021     KMC   Communicate with car broker and finalize Notice of Intended Sale of Vehicles,
                     file with court, and post on receivership website (.75); communicate with
                     Bayside Metals regarding pending orders of investors (.25); email to CFTC
                     with snapshot of status of receivership and communicate with P. Lewis
                     regarding same (.50); conference with D. Brezik regarding sending follow up
                     letter to Chase Bank for production of documents and review prior
                     communications with Chase Bank related to same (.50); communicate with
                     accountants regarding filing Form 56 with IRS and requesting extension for
                     filing tax returns for receivership entities for 2020 (.25).                                 2.25

02/15/2021     KMC   Legal research regarding ability to recover security deposit and communicate
                     with Priya Jesani regarding same (0.50); review lease and amendments
                     regarding 8383 Wilshire (.25); review and execute 17 listing agreements hiring
                     broker to market for sale 17 Philadelphia properties (.50); communicate with
                     investor regarding questionnaire and communicate with team regarding calls
                     from investors (.25).                                                                        1.50

02/16/2021     KMC   Review lease amendments and conference with P. Lewis regarding strategy
                     for return of security deposit from 8383 Wilshire (.75); review transcript of
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      Matter 101 - Receiver




                                                                                                                Hours
                     deposition of Lucas Asher and make page and line references of information
                     Asher testified he would provide (2.00); prepare letter to counsel for Lucas
                     Asher listing information Asher testified he would provide and send to Asher's
                     counsel (.50); attend to providing investors with questionnaire and
                     communicating with team regarding investor calls (.25).                                      3.50

02/17/2021     KMC   Attend to investor calls and telephone conference with P. Lewis regarding
                     demand letter to T-Mobile regarding L. Asher telephone records.                              0.25

02/18/2021     KMC   Prepare draft of Motion to Identify Certain Entities in Receivership, Declaration
                     in Support of Motion, and proposed Order (3.75); legal research of cases cited
                     by landlord of 8383 Wilshire as support for landlord's argument it can retain
                     security deposit and share thoughts regarding cases with P. Lewis and Priya
                     Jesani (.50).                                                                                4.25

02/19/2021     KMC   Telephone conference with CFTC regarding response to motion to withdraw
                     filed by Arnold Spencer and regarding possible transfer of funds from account
                     (.50); multiple communications with accountants and review of bank records
                     fo                                                         (.50); telephone
                     conference with CFTC regarding additional information as to transfer of funds
                     (.25); prepare draft of letter to East West Bank providing receivership orders
                     and requesting freeze of accounts and production of documents and
                     conference with accountants regarding new account (.75); telephone
                     conference with investor in Revo, LLC and send him non-metals questionnaire
                     (.25).                   ,. 1"'tr                                                            2.25

02/22/2021     KMC   Review Plaintiffs' objection to motion to withdraw and prepare Receiver's
                     objection to defendants' motion to withdraw (.75); prepare Notice of No
                     Objection to Motion to Establish Claims Procedure and conference with P.
                     Lewis regarding same (.50); receive Order Approving Second Fee Application
                     and issue checks (no charge); work on Motion to Identify Additional Entities in
                     Receivership, including review of corporate books and records seized from
                     Defendants' office (1.00); communicate with East West Bank regarding person
                     to direct demand letter to for freezing of accounts and turnover of documents
                     and finalize letter to East West bank (.50); receive package of materials from
                     California Department of Motor Vehicles for transfer of title to Mercedes for
                     sale and communicate with broker and lienholder regarding same (.25); attend
                     to investor calls and communicate with Bayside Metals regarding pending
                     orders (.50); review research of Priya Jesani regarding lessor's retention of
                     security deposit (.25); communicate with Philadelphia broker regarding title
                     company fees (.25).                                                                          4.00

02/23/2021     KMC   Review and execute three lis pendens to file on Philadelphia properties and
                     conference with legal assistant regarding same (.25); revise letter to general
                     counsel of ASCAP making demand for turnover of royalties and enclosing
                     deposition testimony (.25); receive and review bank records from East West
                     Bank regarding

                                            (1.00); communicate with CFTC regarding information
                     available from accountants for defendants (.25); conference with CFTC
                     regarding bank records obtained from East West Bank (.25); research
                     regarding
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       Kelly Crawford                    Document
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       Matter 101 - Receiver




                                                                                                                   Hours

                                                             (. 75); work on motion to identify entities
                      in receivership an send to CFTC for purposes of conferencing, and follow up
                      by sending copy of appendix in support of motion (.75); telephone conference
                      with K. Loquett (.25); prepare draft email for P. Lewis to send to counsel for
                      lessor demanding return of security deposit (.25); review pricing suggested by
                      broker for Philadelphia properties and communicate with broker regarding
                      same (.25).                                                                                    4.25

02/24/2021     KMC    Revise and finalize Motion to Identify Entities in Receivership, including
                      finalizing Appendix, Declaration, exhibits, and Motion (2.00); send Motion to
                      Identify Entities in Receivership to Defendants' counsel for purposes of
                      conferencing and obtain consent from CFTC to represent that CFTC is
                      unopposed to the relief sought (.25); meet with legal assistants to evaluate
                      status of investor database (.50); revise and finalize letter to Apple Computer
                      regarding monies owed to Revo (.25).                                                              3.00

02/25/2021     KMC    Communicate with Maryland securities department regarding list of Maryland
                      investors in the database and conference with paralegal regarding same (.25);
                      communicate with C. Thomas regarding demand upon BOA for payment of
                      attorneys fees for violating the court orders, response of BOA in refusing to
                      pay fees, and strategy for pursuing contempt (.50); conference with J. Stafford
                      regarding gaining access to Google and Sales Force and having platforms
                      moved to Disco for internal use (.25); numerous communications with
                      lien holder of Mercedes, review and execute documents for sale of Mercedes
                      and send to lienholder, together with check paying off lien on Mercedes (1.00);
                      communicate with defendants' counsel regarding Motion to Identify
                      Receivership Entities and prepare certificate of conference for motion, finalize
                      motion, appendix, and proposed order and have filed with the Court (.75);
                      prepare letter to defendant's counsel regarding information Simon Batashvili
                      promised at his deposition to produce for the receiver and send to A. Spencer
                      (1.25); communicate with P. Lewis regarding obtaining phone records of
                      Simon Batashvili from AT&T (.25).                                                                 4.25
                      For Current Services Rendered                                                                128.35       50,056.50

                                                             Recapitulation
                Timekeeper                                                  Hours       Hourly Rate             Total
                Kelly M. Crawford                                          128.35          $390.00         $50,056.50


                      Total Current Services and Expenses                                                                       50,056.50
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    Scheef & Stone, L.L.P.
    500 N. Akard, Suite 2700
    Dallas, Texas 75201                                  SOLID GOUNSEL




                                                             INVOICE


    Kelly Crawford Receivership - Metals.co                                                      Statement Date:      03/25/2021
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                                                                                                     Invoice No.        1017549




      Matter 101 - Receiver




                                                                                                               Hours
03/01/2021     KMC   Conduct search of documents relating to SpaceX investment, identify and
                     review such investment documents, confer with P. Lewis regarding same, and
                     prepare letter to Forge regarding freezing the investment and providing
                     information regarding the investment (2.00); conduct search of documents
                     relating to Portfolio Insider and review same (.50); telephone conference with
                     FBI S.A. regarding production of information (.25); review questionnaire and
                     investment information provided by investor and conference with paralegal
                     regarding same (.25); review email from attorney for Lessor responding to
                     demand for turnover of security deposit and revise response from P. Lewis
                     (.25); review database of information for documents regarding investments in
                     Flexport, Pinterest, Betterment, Palantir, Sofi, Planet, Virgin Hyperloop,
                     Adaptive Biotech, Eventbrite, Slack, Lyft, Buzzfeed, Airbnb, Doordash,
                     Postmates, Circle, Ripple, Desktop Metals (1.50).                                             4.75

03/02/2021     KMC   Establish protocol for searches of database to protect attorney client privilege
                     communications between Asher and Batashvili and their attorneys and send
                     to team (.50); conference with Jessica regarding searches to conduct in
                     database and identify companies in which Tower Equity is believed to have
                     invested (.50); receive Order Establishing Claims Adjudication Process,
                     docket deadlines, and provide copy to team for docketing (.25); communicate
                     with CFTC regarding Order Establishing Claims Adjudication Process and
                     relevant deadlines (.25); communicate with State of Texas regarding Order
                     Establishing Claims Adjudication Process, deadlines, and press release to be
                     issued by States and letters to be sent to investors (.25); have Order
                     Establishing Claims Adjudication Process posted on receivership website and
                     prepare FAQ's to include in receivership website to answer questions likely to
                     be asked (.75); search database regardin                    .75); search
                     database regarding                                                conference
                     with P. Lewis regarding same (1.25).                                                          4.50

03/03/2021     KMC   Work on having the claims process order and FAQ posted on the receivership
                     website (.25); send list of investors in database who live in California to
                     California Atty General office (.25); send list of investors who live in New York
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      Matter 101 - Receiver




                                                                                                               Hours
                      to NY Atty General's office (.25); prepare demand letter to EquityZen
                      identifying entities Tower Equity invested in through EquityZen (.75);
                      conference with Jessica regarding publishing notice of claims procedure in
                      national publication as required by court order and revise and finalize notice
                      for publication (.50); search database regarding                         (.75);
                      obtain information regarding Northwestern Life insurance policy for Simon
                      Batshvili and conference with D. Brezik regarding send demand for
                      information (.25).                                                                         3.00

03/04/2021

                                                                                                                 3.50

03/05/2021      KMC   Telephone conference with CFTC regarding press release and other pending
                      issues (.50); conference with team regarding investor database, review
                      database, and determine strategy for sending out notices to investors and
                      creditors as ordered by the court (1.50); research database regarding£
                      obtain information regarding investments made by defendants throug~
                         I
                                                 1        (1.50); receive and execute title to ~
                      communicate with broker handling sale, and send to broker handling sale
                      (.25); communicate with City National Bank regarding need for Orders and
                      conference with D. Brezik regarding call from counsel for Betterment (.25);
                      attend to providing questionnaires to investors and directing investor calls
                      (.50).                                                                                     4.50

03/08/2021      KMC   Obtain database names by each state and prepare email to each state
                      sending the database names to the state to compare with their records and
                      communicate with paralegal regarding same (1.00); attend to investor calls
                      and emails and provide questionnaires and communicate with associate
                      regarding same (1.00); research database regard in!        a   and
                      communicate with P. Lewis and CFTC regarding same, including review of
                      Simon Batashvili deposition testimony regarding same, and declaration
                      regarding jewelry by Fainche (1.00); prepare letter to State Farm requesting
                      documents regarding jewelry policy (.25); prepare letter to attorneys regarding
                      Cook Island trust attorneys prepared for Tower Equity and review documents
                      regarding same (.75); communicate with broker regarding closing sale of
                      Cobra, delivery of car, and wiring of funds (.25); communicate with associate
                      regarding national advertisement of claims procedure in USA Today (.25).                   4.50

03/09/2021      KMC   Continue to send database for each State to the representative of the State
                      so that the database can be compared with the State's and communications
                      with State representatives and paralegal regarding same (1.00); attend to
                      responding to investors, providing them questionnaires, and conferences with
                      paralegal regarding status of investor database (.75); research database
                      regarding security deposits and conference,. with P. k_.eyvis regarding
                      demanding return ot\:security deposit from land I d of ~imon:.Batashvili house
                      (.75); research database regarding
                                    (.75); research database regarding Tx. Admin. Inc.. 50);
                      research database regardin                    (.50); research database
                      regarding                    .50 ; research database regarding§        £
                                                        (.50).                                                   5.25
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                                                                                                               Invoice No:      1017549
      Matter 101 - Receiver




                                                                                                                     Hours

03/10/2021      KMC   Conference with team regarding investor database (.50); telephone
                      conference with California regulator regarding California list of investors and
                      communicate with paralegal regarding same (.25); conference with P. Lewis
                      regarding offer by EquityZen to give Receiver access to portal in lieu of
                      producing documents (.25); confirm receipt of wire for sale of Cobra and
                      issue check to broker (.25); video conference with J. Brandlin and associate
                      regarding status of accounting (.50); review and revise letter to NW Mutual
                      regarding Simon Batashvili insurance policy (.25); receive and review letter
                      from tax lawyers refusing to produce document~ without consent of Lufas            }"

                      Asher and communicate with attorney fo'r Lucas Asher regarding same and
                      outstanding request for information (.25); review database for information
                      regarding Revo (.25); communicate with general counsel for City National
                      Bank regarding Tx Admin Inc. account (.25).                                                      3.00

03/11/2021      KMC    Telephone conference with regulator of Maryland regarding Maryland
                       restitution order (0.25); communicate with numerous States regarding.'names
                       on their lists of investors that are not on the receivership database list and
                      fOOrdinate with paralegal to add the names to the database (1.00); prepare
                       email to send to new investors with questionnaire requesting them to
                       complete and return the questionnaire, and conference with arale al about
                       group email (.25); research database for
                                                                             (.25); prepare coding for
                       categorizing accounting, review summary of withdrawals, and communicate
                       with accountants regarding same (.75); prepare letter to MinnStar bank
                       enclosing order and requesting documents (.25); communicate with P. Lewis
                       regarding strategy and status of numerous issues pending (.25).                                 3.00

03/17/2021      KMC   Attend to numerous investor calls and requests for questionnaires (1.00);
                      conference with paralegal regarding investor databa~e and conference with J.
                      Rolls regarding adding names to database (.50); telephone conference with
                      G. Besen regarding his potential representation of Lucas Asher and Simon
                      Batashvili (.25); conference with P. Lewis regarding numerous issues,
                      including demand for return of security deposit from landlord of Batashvili
                      house, obtaining documents from Forge, obtaining access to EquityZen, and
                      jewelry affidavit from Fainche (.50); conference with M. Simon regarding
                      interviewing Dennis B. (.25); conference with CFTC regarding potential new
                      counsel for individual defendants and status of receivership (.50).                              3.00

03/18/2021      KMC   Attend to investor calls and emails and conference with J. Rolls and with
                      paralegal regarding same (1.00); begin work on preparing list of creditors to
                      send proof of claim form to (.25); communicate with States regarding
                      investors and claim form (.25); telephone conference with CFTC regarding
                      call from potential new counsel for Individual Defendants and intent to seek
                      carve out from receivership for attorneys' fees, and confer with P. Lewis
                      regarding same (. 75); telephone conference with' CFTC regarding valuation
                      expert for coins and regarding investors who purchased coins onyne, and
                      conference vyith paralegal regarding same (.50); follow up with targets of
                      assets on status of responding to freeze order and production order (.25).                       3.00
                                 't             ~~·                                    ~
03/19/2021      KMC   Receive and review email from ~nonymous source regarding receivership
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                                                                                                           Invoice No:          1017549
      Matter 101 - Receiver




                                                                                                                  Hours
                      assets and communicate with K. Loquett regarding status of obtaining records
                      (.25); telephone conference with CFTC regarding potential new
                      representation of Individual Defendants (.25); review email to lessor of
                      Batashvili house and communicate with P. Lewis regarding same (.25); work
                      on database of investors with paralegal (1.00); prepare and file Notice of No
                      Objection to Motion to Identify Certain Entities in Receivership (.25).                          2.00

03/22/2021      KMC   Meetings with team regarding finalizing database and preparing for mailout of
                      confirmations (1.00); attend to investor calls and requests for questionnaires
                      (.50); telephone conference with K. Loquett regarding email and obtaining
                      records (.25); work on preparing list of creditors to receive proof of claim as
                      part of claim process, including reviewing database for past due amounts
                      claimed as of the receivership (1.25); conference with P. Lewis regarding
                      response of Batashvili landlord to claim for return of security deposit and send
                      proof of claim form to P. Lewis to send to landlord (.25); telephone conference
                      with CFTC regarding metals valuation expert, send list of coins to CFTC for
                      expert to review, and begin review of expert declaration filed with Complaint
                      (.50).                                                                                           3.75

03/23/2021      KMC   Work on finalizing database of investors in preparation for sending out
                      confirmation of claims and meeting with team regarding same (1.00); work on
                      list of creditors to send proof of claim form to (.50); work on draft of

                                          nd gather evidence in support of motion (2.00); attend to
                      investor calls and emails and communicate with J. Rolls regarding same
                      (.50).                                                                                           4.00

03/24/2021      KMC   Work on investor database and creditor list in preparation for sending out
                      claims and conferences with team regarding same (1.25); research coin at
                      issue for valuation (.25).                                                                       1.50

03/25/2021      KMC   Telephone conference with G. Besen regarding intent to file motion to allow
                      payment of attorneys' fees (.25); work on investor database in preparation for
                      mailing out claims (4.00); telephone conference with CFTC regarding status
                      of claims process, fees charged by SDIRA custodians to investors, and
                      defendants' intent to seek monies for new attorneys (.50).                                       4.75
                      For Current Services Rendered                                                               58.00        22,620.00

                                                           Recapitulation
                 Timekeeper                                              Hours       Hourly Rate               Total
                 Kelly M. Crawford                                        58.00         $390.00          $22,620.00


                      Total Current Services and Expenses                                                                      22,620.00
